                                                                        USDC SDNY
UNITED STATES DISTRICT COURT                                            DOCUMENT
SOUTHERN DISTRICT OF NEW YORK                                           ELECTRONICALLY FILED
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 DEUTSCHE BANK NATIONAL TRUST CO.,                                  :   DATE FILED: March 27, 2018
 solely in its capacity as Trustee for the                          :
 MORGAN STANLEY STRUCTURED TRUST I                                  :
 2007-1,                                                            :
                                              Plaintiff,            :
                                                                    :
                            -v-                                     :         14-cv-3020 (KBF)
                                                                    :
 MORGAN STANLEY MORTGAGE CAPITAL :                                                 ORDER
 HOLDINGS LLC, as Successor-by-Merger to                            :
 MORGAN STANLEY MORTGAGE CAPITAL :
 INC.,                                                              :
                                              Defendant.            :
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KATHERINE B. FORREST, District Judge:

        Based on the letter at ECF No. 198, the Court takes it that Olifant does not

believe it could hold up the proposed settlement even if it objects timely. In light of

that, as well as the various representations made at ECF Nos. 180, 195, and 196,

the Court hereby ADJOURNS all future deadlines and hearings in this action. The

parties are directed to provide a status report as soon as the certificateholders take

action on the proposed settlement, but in any event not later than Monday, April

9, 2018.

        SO ORDERED.

Dated:           New York, New York
                 March 27, 2018
                                                          ____________________________________
                                                                KATHERINE B. FORREST
                                                                United States District Judge
